Case 4:21-mj-00068-BJ Document1 Filed 02/01/21 Page1lofi PagelD1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA

Vv.

KATHERINE STAVELEY SCHWAB

§ MAG. DOCKET NO.: 4:21-MJ-068
§

§

§

§ CRIMINAL NO.:

 

ENTRY OF APPEARANCE OF COUNSEL

I wish to enter my appearance as retained counsel for the above-named defendant(s) in this cause.

[ | I hereby enter my appearance as appointed counsel for the above-named defendant(s) in this cause.

] understand that it is my duty to continue to represent the above-named defendant(s) in

connection with all matters relating to this cause, and in connection with all proceedings therein
in this Court; to assist the defendant(s) with any appeal which the defendant(s) desires to perfect,

and to represent the defendant(s) on appeal until a final judgment has been entered; unless and
until, after written motion filed by me, I am relieved by Order of the Court.

In all cases an arraignment is scheduled promptly after the return or filing of an indictment or
information, at which time the defendant must enter a plea. Your attention is directed to Rule 12
Federal Rules of Criminal Procedure, pertaining to pretrial motions.

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: Date

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CLERK, U.S. DISTRICT COURT
By

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Signature of/Attotney ;

REED PROSPERE
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